               United States Court of Appeals
                               For the First Circuit
                                  _____________________
No.    16-2271

                                 PAN AM RAILWAYS, INC.

                                          Petitioner

                                              v.

                               US DEPARTMENT OF LABOR

                                         Respondent

                                        JASON RAYE

                                         Intervenor
                                    __________________

                                            Before

                                    Howard, Chief Judge,
                               Selya and Lynch, Circuit Judges.
                                    __________________
                                    ORDER OF COURT

                                     Entered: July 5, 2017

              Upon consideration of the joint stipulation for fees and costs between Intervenor
Jason Raye and Petitioner Pan Am Railways Inc., the stipulation is granted.


                                                     By the Court:

                                                     /s/ Margaret Carter, Clerk

cc:
Robert S. Hawkins
Andrew J. Rolfes
Megan Elizabeth Guenther
US Department of Labor
Dean Romhilt
Stephen J. Fitzgerald
US Department of Labor Administrative Review Board
